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Form CGFI25 (09/07/23)


                                                    United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov


                                                                              Case Number: 24−15252−CLC

                                                                              Adversary Number: 24−01391−CLC
In re:
Name of Debtor(s): Charles Wallace Buttner, II and Nayda Rae Buttner
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−− /

Glenda Rivas, Kristina Rivas and Anthony Wilson
                                                                              ALL DOCUMENTS REGARDING THIS MATTER
Plaintiff(s)                                                                  MUST BE IDENTIFIED BY BOTH ADVERSARY
                                                                              AND BANKRUPTCY CASE NUMBERS
VS.

Charles Buttner and Nayda Buttner
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/

                               SUMMONS IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court at the address indicated below within 30 days, pursuant to BR 7012, after the date of issuance of
this summons, except that the United States and its offices and agencies must submit a motion or answer to the complaint
within 35 days.

US Bankruptcy Court
301 North Miami Avenue, Room 150
Miami, FL 33128

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

         Name and Address of Plaintiff's Attorney
         David R. Softness
         201 South Biscayne Blvd
         Suite 2740
         Miami, FL 33131


If you make a motion, your time to answer is governed by Bankruptcy Rule 7012. Pursuant to BR 7007.1, and Local Rule
7003−1(B)(2) corporate defendants must file a corporate ownership statement.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.


                                                                              Clerk of Court
                                                                              By: Mike Olivier
                                                                              Deputy Clerk




   Dated: September 18, 2024
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                                       DCERTIFICATE OF SERVICE

 I, _David R. Softness, Esq. certify that service of the summons (above), a copy of the complaint and a copy
 of the Court's Order Setting Scheduling Conference (etc) dated September 18, 2024,was made on
 September 23, 2024 Regular USPS First Class Mail and by Certified Mail (receipts attached): Addressed
 To:
            Charles and Nayda Buttner
            490 James Avenue
            Masrathon, FL 33050

   ____ Personal Service: By leaving the process with defendant or with an officer or agent of
        defendant at:




   ____ Residence Service: By leaving the process with the following adult at:



   ____ Certified Mail Service on an Insured Depository Institution: By sending the process by
        certified mail addressed to the following officer of the defendant at:




   ____ Publication: The defendant was served as follows: [Describe briefly]



   ____ State Law: The defendant was served pursuant to the laws of the State of
        ________________________, as follows: [Describe briefly]

If service was made by personal service, by residence service, or pursuant to state law, I further certify that
I am, and at all times during the service of process was, not less than 18 years of age and not a party to
the matter concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.


Date   October 1, 2024                          Signature:      /s/ David Sftness


                       Print Name:         David Softness

                       Address:      201 South Biscayne Blvd, Suite 2740

                       City:   Miami             State:   FL       Zip:       33131



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